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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  ZHANG Jingrong, ZHOU Yanhua, ZHANG Peng,
  ZHANG Cuiping, WEI Min, LO Kitsuen, LI Xiurong,
  CAO Lijun, HU Yang, GAO Jinying, CUI Lina, XU Ting,
  and BIAN Hexiang,

          Plaintiffs,                                            NOTICE OF MOTION FOR
                                                                 PARTIAL SUMMARY
          vs.                                                    JUDGMENT

  Chinese Anti-Cult World Alliance (CACWA), Michael              No. 15-CV-1046 (SLT) (VMS)
  CHU, LI Huahong, WAN Hongjuan, ZHU Zirou, &
  DOES 1-5 Inclusive,

          Defendants.


        PLEASE TAKE NOTICE that upon the Plaintiffs’ Local Civil Rule 56.1 Statement,

 Memorandum of Law in Support of Plaintiffs’ Motion for Partial Summary Judgment, Declaration of

 Terri Marsh in Support of Plaintiffs’ Motion for Partial Summary Judgment, and exhibits annexed

 thereto, Plaintiffs will move this Court before the Honorable Sandra L. Townes, at the United States

 Courthouse, Eastern District of New York, 225 Cadman Plaza East, Brooklyn, New York 11201, at a

 time and date to be determined by the Court, for partial summary judgment on the issue and claims

 set forth in the supporting papers, and for any further relief the Court deems just and proper.

 Dated: New York, New York
        November 13, 2017

                                                        /s/ Terri E. Marsh
                                                        ___________________________________
                                                        Terri E. Marsh
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                                             744


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